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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                    COLUMBUS DIVISION

 EKONG BEN ESHIET,                                   *

                       Petitioner,                   *
 v.                                                      Case No. 4:19-CV-98-CDL-MSH
                                                     *
 Warden MICHAL DONAHUE,
                                                     *
                   Respondent.
 ___________________________________                 *

                                           JUDGMENT

       Pursuant to this Court’s Order dated September 11, 2019, having accepted the recommendation of

the United States Magistrate Judge, in its entirety, JUDGMENT is hereby entered dismissing this action.

       This 11th day of September, 2019.

                                            David W. Bunt, Clerk


                                            s/ Terrie L. Potts, Deputy Clerk
